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11
                                    UNITED STATES DISTRICT COURT
12
                               NORTHERN DISTRICT OF CALIFORNIA
13
                                       SAN FRANCISCO DIVISION
14

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16   IN RE GOOGLE PLAY STORE                            Case No. 3:20-cv-05671-JD
     ANTITRUST LITIGATION                               Case No. 3:21-md-02981-JD
17
     THIS DOCUMENT RELATES TO :
18                                                      PLAINTIFF EPIC GAMES, INC.'S
     Ep ic Games, Inc. v. Google LLC et al. ,           NOTICE OF MOTION AND MOTION
19   Case No . 3:20-cv-05671-JD                         FOR A PRELIMINARY INJUNCTION

20                                                      Date: June 2, 2022 at 10:00 a.m.
                                                        Courtroom: 11 , 19th Floor
21                                                      Judge: Hon. James Donato

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     E PIC'S NOTICE OF MOTION AND                                              C ASE No. 3:20-cv-05671-JD
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 1                                 NOTICE OF MOTION AND MOTION

 2            TO ALL PARTIES HEREIN AND THEIR ATTORNEYS OF RECORD:

 3          PLEASE TAKE NOTICE THAT on June 2, 2022, at 10:00 a.m., in the United States

 4   District Court for the Northern District of California, before the Honorable James Donato,

 5   Plaintiff Epic Games, Inc. ("Epic") will move this Court pursuant to Federal Rule of Civil

 6   Procedure 65 for a Preliminary Injunction restraining Defendants Google LLC, Google Ireland

 7   Limited, Google Commerce Limited, Google Asia Pacific Pte. Limited, and Google Payment

 8   Corp. (collectively, "Google"), its officers, agents, servants, employees and attorneys, and all

 9   persons in active concert or participation with Google, from removing, de-listing, refusing to list

10   or otherwise making unavailable the app Bandcamp, including rejecting or refusing to distribute

11   any update of such app, from the Google Play Store on the basis that Bandcamp offers in-app

12   payments through means other than Google Play Billing or on any pretextual basis. 1

13          This Motion is made on the grounds that: (1) Epic is likely to succeed on the merits of its

14   claims that Google's conduct violates the Sherman Act, the Cartwright Act and California's

15   Unfair Competition Law; (2) absent a preliminary injunction, Epic is likely to suffer irreparable

16   harm; (3) the balance of harms tips sharply in Epic's favor; and (4) the public interest supports

17   an injunction. This Motion is based upon the Complaint in this action, this Notice of Motion and

18   Motion, the Proposed Order Granting Plaintiffs Motion for a Preliminary Injunction ("Proposed

19   Order"), the Declaration of Steven Allison ("Allison Deel.") along with its accompanying

20   exhibit, the Declaration of Ethan Diamond ("Diamond Deel.") along with its accompanying

21   exhibits, the Declaration of Joshua Kim ("Kim Deel.") along with its accompanying exhibits, the

22
23   1 Epic has noticed this Motion for June 2, 2022, the first Thursday at least 35 days from the filing
     of this Motion, in accordance with Paragraph 11 of this Court's Standing Order for Civil Cases
24   and Northern District of California Civil Local Rule 7-2(a). Because Google's policy change
     that is the subject of this Motion will take effect on June 1, 2022, Epic intends to meet and confer
25
     with Google following the filing of this Motion to seek Google's agreement not to enforce the
26   new policy while this Motion is pending. If the parties cannot reach agreement, Epic will move
     to shorten time for the Court to hear the Motion under Civil Local Rule 6-3 , or in the alternative,
27   to temporarily restrain Google from enforcing the June 1, 2022 policy change pending resolution
     of this Motion.
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     EPIC'S NOTICE OF MOTION AND                     ii                         CASE No. 3:20-cv-05671-JD
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 1   Declaration of Shawn Grunberger ("Grunberger Deel.") along with its accompanying exhibits,

 2   the Declaration of Lauren A. Moskowitz ("Mosk. Deel.") along with its accompanying exhibits,

 3   the Declaration of Steven Tadelis ("Tadelis Deel."), all matters with respect to which this Court

 4   may take judicial notice, and such oral and documentary evidence as may be presented to the

 5   Court. Plaintiff hereby requests, pursuant to Federal Rule of Civil Procedure 65 and Northern

 6   District of California Civil Local Rules 7-2 and 65-2 , that the Court issue a preliminary

 7   injunction in the form of the Proposed Order filed herewith.

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 1                                    PRELIMINARY STATEMENT

 2           This case challenges, among other unlawful conduct, Google's: (1) conduct in the

 3   market for the distribution of apps on Android, where it has a monopoly through its Google Play

 4   Store ("Google Play"), and (2) use of that monopoly to illegally tie its Google Play Billing

 5   ("GPB") product to Google Play and impose a fee on all purchases that Google forces through

 6   GPB. The case is set for trial in April 2023. This Motion is necessary to preserve the status quo

 7   and prevent Google from implementing a change to its GPB policies that would cause Epic

 8   irreparable harm before this case can be decided. Since Google first launched its in-app

 9   payments product in 2011 , it has exempted from its tie developers that sell digital content

10   consumed outside the app. (Mosk. Deel., Ex. 8 at '284 ("Payments Policy" or "Policy").) This

11   Policy exemption has applied to a wide range of apps, including music services like Epic 's

12   Bandcamp app . Now, Google is closing the exemption and expanding its illegal tie.

13   Specifically, Google has threatened to remove any apps, including Bandcamp, from Google Play

14   on June 1, 2022, if they do not adopt GPB for the sale of all digital content. Epic therefore seeks

15   preliminary injunctive relief.

16           Bandcamp, acquired by Epic in a transaction that closed last month, is an online record

17   store and music community used by more than 500,000 independent artists and 11 ,000

18   independent labels to connect with their fans online. (Diamond Deel. ,i 10.) Consistent with

19   Google ' s Policy exemption, Bandcamp has used the payment solution of its choice-tailored to

20   the needs of its business-to allow artists and labels to sell music and merchandise directly to

21   their fans through its Android app . Bandcamp 's ability to use its preferred payment solution is

22   critical because GPB does not provide Bandcamp with the services it needs and comes at a price

23   that Bandcamp cannot afford. (Id. ,i,i 27-28.) After more than a decade of allowing developers

24   to choose their own payment solutions for purchases of digital content that could be consumed

25   outside their apps, Google is now changing its Policy under the guise of a "clarification" that it

26   announced in September 2020. On April 21 , 2022, Google confirmed that it will enforce its new

27   Policy against Bandcamp, including by removing the app from Google Play on June 1, 2022, if

28   Bandcamp does not integrate GPB . (Id. ,i 39.)

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 1          The new Policy will cause irreparable harm. As Bandcamp told Google in June and

 2   August 2021, the Policy change does not work for Bandcamp' s community or business. (Kim

 3   Deel. ,i,i 9, 16.) Beyond the financial impact of the newly imposed revenue share, integrating

 4   GPB would undermine Bandcamp's ability to serve fans and artists. (Diamond Deel. ,i 28.)

 5   Integrating GPB may require Bandcamp to switch from paying out artists within 24 to 48 hours

 6   of a sale (an essential feature ofBandcamp's offering) to paying out artists 15 to 45 days after a

 7   sale-a significant blow to the artists who rely on Bandcamp to make a living and continue

 8   making music. (Diamond Deel. ,i,i 29-30; Grunberger Deel. ,i,i 23-27.) In addition, Bandcamp is

 9   a large marketplace where artists and labels add and edit thousands of digital and physical items

10   each day and have full control over pricing-a type of marketplace that GPB is not equipped to

11   accommodate. (Diamond Deel. ,i 33 ; Grunberger Deel. ,i,i 30-34.) If Epic were forced to turn

12   off digital sales in the app in lieu of integrating GPB , fans and artists would become less engaged

13   with Bandcamp, and Epic would lose mobile users and artists at a time when building

14   momentum is essential for Epic to grow the Bandcamp app into a global platform that connects

15   musicians and creators. (Allison Deel. ,i,i 22-23 .)

16          All told, Google 's Policy change will cause Epic irreparable harm by forcing it to make

17   the untenable choice between (i) trying to integrate GPB-which is incompatible with the way

18   Bandcamp operates; (ii) removing the in-app option to purchase digital goods-which would

19   transform the app from a marketplace to a window shop; or (iii) being ejected from Google Play

20   altogether, which would cut Bandcamp off from the primary app distribution channel on

21   Android. The related harms to the public interest, including to the independent artists who rely

22   on Bandcamp, also weigh strongly in favor of a preliminary injunction. (See infra Section I.)

23          Epic is also likely to succeed on the merits of its antitrust and unfair competition claims.

24   Indeed, Google ' s Policy change is just the latest in a long line of anticompetitive acts designed to

25   illegally foreclose competition within the Android ecosystem. Google unlawfully maintains a

26   monopoly over the distribution of apps on Android by deploying "bait and switch" tactics,

27   erecting insurmountable barriers to entry, and paying actual and potential competitors billions of

28   dollars not to compete against Google Play. Google uses that monopoly power to force apps

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 1   distributed through Google Play to use GPB for in-app purchases of digital content, which is an

 2   unlawful tie. (See infra Section II.)

 3           Preserving the status quo would not harm Google; it would simply require Google to

 4   continue operating as it has for over a decade. The balance of harms weighs firmly in favor of

 5   Epic, and a preliminary injunction should issue. (See infra Section III.)

 6                                               ARGUMENT

 7           To obtain a preliminary injunction, a plaintiff must show that "[it] is likely to succeed on

 8   the merits, that [it] is likely to suffer irreparable harm in the absence of preliminary relief, that

 9   the balance of equities tips in [its] favor, and that an injunction is in the public interest." hiQ

IO   Labs, Inc. v. Linkedln Corp., 2022 WL 1132814, at *5 (9th Cir. Apr. 18, 2022). Under the Ninth

11   Circuit's "sliding scale" approach, "a stronger showing of one element may offset a weaker

12   showing of another." Pimentel v. Dreyfus, 670 F.3d 1096, 1105 (9th Cir. 2012); see also

13   Hernandez v. Sessions , 872 F.3d 976, 990 (9th Cir. 2017). Each factor weighs in favor of

14   granting Epic's Motion and preserving the status quo of the past decade.

15
     I.      GOOGLE'S NEW POLICY WILL IRREPARABLY HARM EPIC AND
16           THOUSANDS OF ARTISTS.
17           Google's new Payments Policy, if permitted, threatens to irreparably harm Epic and

18   thousands of artists who rely on the Bandcamp app .

19          First, Bandcamp's payment solution is custom built to maximize efficiency and minimize

20   costs, allowing artists to be paid within 24 to 48 hours of a sale. (Diamond Deel. ,i 29;

21   Grunberger Deel. ,i 26.) This is an essential feature of the Bandcamp app that sets it apart.

22   (Diamond Deel. ,i 29.) Using GPB, by contrast, would materially affect Bandcamp's payout

23   process, because Google does not send payouts to developers until 15 to 45 days after a sale.

24   (Grunberger Deel. ,i 27.) To continue the practice of sending payouts to artists within only 24 to

25   48 hours, Bandcamp would need to either try to advance these payouts or wait until it receives

26   the money from Google, the delay from which would harm the artists who rely on Bandcamp to

27   make a living and continue making music. (Diamond Deel. ,i 30; Grunberger Deel. ,i 27.)

28   Therefore, switching to GPB threatens to cause significant harm to the app's reputation with

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 1   artists as a reliable source of weekly or even daily income, making it less attractive to current and

 2   prospective artists. See Am. Rena Int'! Corp. v. Sis-Joyce Int'! Co., 534 F. App'x 633,636 (9th

 3   Cir. 2013) (finding irreparable harm based on "threatened loss of ... customers or goodwill").

 4           Second, integrating GPB threatens to destroy another of Bandcamp' s key selling points to

 5   artists-namely, its ability to give artists around 82% of the revenue earned from their sales.

 6   (Diamond Deel. ,r,r 6, 27.)

 7                                                (Mosk. Deel. , Ex. 80.) While Google has offered

 8   Bandcamp a revenue share of 10% (in exchange for other concessions) (Kim Deel. ,r 24), paying

 9   Google even a 10% revenue share would force Epic to change Bandcamp ' s current business

10   model or else operate the Bandcamp business at a long-term loss. 1 (Allison Deel. ,r 20; Diamond

11   Deel. ,r 27.) See Stuller, Inc. v. Steak N Shake Enters., Inc. , 695 F.3d 676, 680 (7th Cir. 2012)

12   (finding irreparable harm where franchisor's policy change would cause "a significant change to

13   [franchisee' s] business model"). In theory, Epic could pass on those costs to fans or artists

14   (Allison Deel. ,r 20; Diamond Deel. ,r 27), but either change would cause irreparable harm to

15   Epic by damaging its reputation and turning fans and artists away from the app and against Epic

16   (Allison Deel. ,r 25). In addition, a material degradation of the Bandcamp app or violation of its

17   core principles within three months of Epic's acquisition would irreparably harm Epic's

18   reputation with artists. (Id.)

19           Third, Bandcamp's existing payment solution is fully integrated with PayPal, which

20   allows the Bandcamp support team to offer quality customer support without leaving the

21   Bandcamp payment system. (Diamond Deel. ,r 32; Grunberger Deel. ,r 29.) Integrating GPB

22   would require significant time and effort to build a new infrastructure to provide the same quality

23   of support using GPB. (Id.) Further, artists use Bandcamp to sell both digital and physical

24   goods (e.g., albums and merchandise), but because GPB cannot be used for the sale of physical

25   goods, artists would have to deal with two different payment systems ifBandcamp adopts GPB

26
27   1 For the period from January 1, 2020 through March 16, 2022, Bandcamp ' s overall take rate on

     gross sales and the gross profit margin on its digital marketplace was approximately 13% and
28   7.5% respectively, leaving very little to cover operating expenses, let alone a platform fee.
     (Diamond Deel. ,r 12.)

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 1   for digital sales, causing confusion among artists dealing with two different payment schedules.

 2   (Diamond Deel.       ,r 31; Grunberger Deel. ,r 28.)
 3            Fourth, GPB requires itemized pricing catalogs for every item available for purchase in

 4   the app. Complying with that requirement would seriously harm an app like Bandcamp, a large

 5   marketplace in which artists and labels add and edit thousands of digital and physical items each

 6   day and have full control over pricing, including the ability to allow fans to name their own price

 7   for items and the ability to set the price of an item in the currency of their choice. (Diamond

 8   Deel.   ,r 33 ; Grunberger Deel. ,r,r 7, 30-34.)     Moreover, GPB is only designed to pay out

 9   developers-it does not support running an open marketplace or facilitate a developer seeking

10   to pay out thousands of merchants (e.g. , artists). (Grunberger Deel.             ,r 25 .)
11            Fifth, the Payments Policy threatens to permanently harm Epic ' s ability to grow the

12   Bandcamp Android app into a global platform with more fans and artists, which is essential to

13   building the audience base and momentum necessary to connect musicians with creators in

14   search of high-quality music. (Allison Deel.          ,r 23 .)   Epic ' s ability to attract content creators will

15   suffer if its pool of music creators is diminished, which will have immediate and long-term

16   consequences to growing the Bandcamp community. (Id. ,r 24.) Epic is actively working to

17   build its creator marketplace. (Id. ,r 15.) Music services like Bandcamp, and the network of fans

18   and artists Bandcamp has built, are critical to that goal-it is why Epic acquired Bandcamp.

19   (Id. ,r,r 15-16.) And mobile apps are the most important driver of new users, as such apps are

20   increasingly becoming the only way younger consumers engage with each other and with content

21   online. (Id.   ,r 11 .)   While Bandcamp theoretically could disable in-app sales of digital goods on

22   Android to comply with the new Policy, as it has been forced to do on iOS , this threatens to cut

23   off Bandcamp from this growing pool of current and prospective users . (Id.                  ,r,r 22-24.)   If Epic 's

24   new music service is cut off from or degraded on Android, Epic would lose access to mobile

25   users at a time when momentum in audience-building is the key to developing its

26   creator-to-creator marketplace. (Id.      ,r 23 .)   See Apple Inc. v. Psystar Corp. , 673 F. Supp. 2d 943 ,

27   949 (N.D. Cal. 2009) (harm to "competitive position" and "market share" support a finding of

28   irreparable harm), aff'd, 658 F.3d 1150 (9th Cir. 2011).

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 1   II.     EPIC IS HIGHLY LIKELY TO SUCCEED ON THE MERITS.

 2           Discovery has already substantiated the core allegations in Epic's Complaint: Google has

 3   a monopoly over Android app distribution, and uses its monopoly power to illegally tie its

 4   payment product-GPB-to its app distribution product-Google Play. The basis for this

 5   Motion is Google's Policy change to expand its unlawful tie to apps like Bandcamp that sell

 6   digital goods that can be consumed outside the app.

 7           To prevail on the tying claims underlying this Motion, Epic must prove either that

 8   Google has market power in the tying product market (i.e., app distribution on Android) under

 9   the Sherman Act, or sufficient economic power in the tying product market to coerce the

10   purchase of the tied product under the Cartwright Act. Therefore, to demonstrate the tie and its

11   anticompetitive effects, Epic begins by explaining how Google has violated Section 2 of the

12   Sherman Act (and California's Unfair Competition Law) through its monopoly maintenance in

13   the market for the distribution of mobile apps to users of Android devices (i.e., the tying product

14   market). (See infra Section 11.A.)2 Epic then explains the illegality of Google's tie and the

15   harms caused to developers like Bandcamp, including the tie ' s anticompetitive effects in the

16   Android app distribution market and the market for in-app payment solutions on Android. (See

17   infra Section 11.B.)

18           Under the Ninth Circuit's "sliding scale" approach, the overwhelming evidence showing

19   Epic 's likelihood of success weighs strongly in favor of preliminary relief. See Indep. Techs. ,

20   LLC v. Otodata Wireless Network, Inc. , 836 F. App 'x 531 , 533 (9th Cir. 2020) ("Where a party

21   can show a strong chance of success on the merits, he need only show a possibility of irreparable

22   harm.").

23           A.      Google Anticompetitively Maintains Its Monopoly Power in the Android App
                     Distribution Market.
24

25           A plaintiff can demonstrate monopoly power by (1) "defin[ing] the relevant market,

26   (2) show[ing] that the defendant owns a dominant share of that market, and (3) show[ing] that

27
     2Conduct violates Section 2 where the defendant possesses monopoly power in the relevant
28   market, willfully acquires or maintains that power, and causes antitrust injury. F.T. C. v.
     Qualcomm Inc. , 969 F.3d 974, 990 (9th Cir. 2020).

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 1   there are significant barriers to entry and [] existing competitors lack the capacity to increase

 2   their output". Optronic Techs., Inc. v. Ningbo Sunny Elec. Co., 20 F.4th 466, 484 (9th Cir.

 3   2021). As explained below and in the declaration of Epic's expert economist, Steven Tadelis,

 4   Epic satisfies all three prongs. (Tadelis Deel.   ,r,r 10-40, 46-54, 86-88.)   There is a relevant

 5   product market for the distribution of Android-compatible apps to users of Android mobile

 6   devices. (Id.   ,r,r 10-40, 86-88 (defining the Android app distribution market).)     Google

 7   dominates that market-Google Play is installed on virtually all Android devices,

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 9   -        (Id.   ,r,r 46-47; see also Mosk. Deel., Ex. 53 at '229.R.)   The Android app distribution

10   market has significant barriers to entry, both inherent and manufactured by Google, which have

11   foreclosed competition. (Tadelis Deel.     ,r,r 48-54.)
12           Google has built and maintained its monopoly by (1) deploying a series of "bait and

13   switch" tactics, (2) erecting insurmountable barriers to entry, and (3) paying potential

14   competitors not to compete.

15                     1.      Google Built Its Monopoly Using 'Bait and Switch' Tactics.

16           Since 2008, when Google launched Google Play 's predecessor, Android Market, Google

17   has pursued a simple plan to build a monopoly over app distribution:

18

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20                                                                                                   (Mosk.

21   Deel. , Ex. 5 at '225- '226.) As part of this plan, Google cleared the field for Android Market by

22   paying wireless carriers not to compete. Specifically, Google offered carriers a 25% cut of

23   revenue from Android Market in exchange for their tacit commitment not to pursue their own

24   app stores.

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 1   (Id. , Ex. 2 at '609.) In 2012                                                     Google

 2   rebranded it Google Play,



 4           Google used similar anticompetitive tactics on developers . Google lured developers to

 5   create apps for Android with the claim that it "does not take a percentage" of revenues. (Id. , Ex.

 6   1.) Then Google reneged.

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13   "bait and switch" for apps like Bandcamp, which were lured to Google Play with an exemption

14   that is now being taken away in order to force them to pay a revenue share they cannot afford.

15                   2.      Google Erected Insurmountable Barriers to Entry.

16           Google has gone to great lengths to foreclose competition.

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24   competition. (Id.) Google proceeded with the second and third of these proposals. (See infra

25   Section II.A.3.b.)

26          -         Google directed its anticompetitive efforts                              . The

27   Google Play team was concerned that




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 8   -      (Id. Ex. 109· Ex. 102.) The substantial baniers to entJ.y-and Google 's capitalization on

 9   those barriers to entJ.y-are undeniable. See, e.g. , United States v. Ba::.aarvoice, Inc. , 2014 WL

10   203966, at *49 (N.D. Cal. Jan. 8, 2014) (finding market power based, in part, on internal

11   documents "herald(ing]" the "substantial baniers to entJ.y").

12                  3.      Google Paid Potential Competitors Not To Compete.

13          Since 2019, Google has unlawfully protected its monopoly by (a) paying off top app

14   developers to stop them from developing and launching competing Android app stores· and

15   (b) paying off OEMs to abandon competing Android app stores. In so doing, Google has

16   betrayed its founding motto ("Don' t Be Evil") committing "the supreme evil of antitJ.ust". See

17   Veri::.on Commc'ns Inc. v. L. Offs. of Curtis V Trinko, LLP, 540 U.S . 398, 408 (2004)

18   ("collusion" is "the supreme evil ofantitJ.ust'')- F.TC. v. Actavis, Inc. 570 U.S. 136, 152 (2013)

19   (an agreement where a party with no claim for damages "walks away with money simply so it

20   will stay away" from the market is anticompetitive). Both programs are also clear violations of

21   Section 1. See, e.g. Palmer v. BRG of Georgi.a, Inc. , 498 U.S. 46 49 (1990).

22                  a.      Google Paid Top App Developers        ot To Compete.

23          In 2019, to block the development of competing Android app stores, Google launched an




26   app developers that were '-            " of '              "-meaning developers that -

27   3Google prohibits OEMs from offering frictionless downloading of alternative app stores (or any
28   other app outside Google Play) through the compatibility standards in its Anti-Fragmentation
     Agreements and Android Compatibility Commitments. (Id., Ex. 81 at 60; Ex. 36 at ' 772.)

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 4                         (Id. , Ex. 86 -   Tr.) at 142:1-143:22· 152:5-20.) Between 2019 and

 5   2020, Google signed Project Hug deals with ■ developers. (Id. , Ex. 67 at ' 697.R.) The general

 6   structure of each deal was the same:

 7

 8



10   any incentive to launch their own stores or to partner with other nascent stores on Android.

11          Google ' s Project Hug deal with the game developer -              is illustrative. -

12                                                                                  (Id. Ex. 55 at ' 919;

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21                                                                       (Id. Ex. 67 at ' 705.R.)

22                  b.      Google Paid OEMs Not To Compete and Tried the Same with Samsung.

23          For years, Google has coerced OEMs into giving Google Play preferential treatment over

24   competing app stores. Specifically Google has conditioned OEMs ' licensing of Google Play, as

25   well as other essential Google se1vices and the Android trademark, on OEMs ' agreements to

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                                              (Id. Ex. 54 at ' 773 ; Ex. 62 at ' 104.)

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 1   pre-install and place Google Play on the home-screen of each mobile device. (Id. , Ex. 90

 2   -            Tr.) at 92:20-93:6.)
 3

 4                                                                                       (Id. , Ex. 90

 5   -            Tr.) at 243:21-245:03 , 245:19-246:06; Ex. 45 at '107.R.) To address the

 6   competitive threat, in June 2019, Google approved a program to pay OEMs a percentage of

 7   revenues from both Search and Google Play in exchange for exclusivity for Google Play through

 8   a new revenue share agreement Google labeled '-             "- (See id. , Ex. 45 at ' 155 .R.) -

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13   -       (Id. , Ex. 45 at ' 107.R.)
14           By May 2020, many of the world' s largest and most popular Android OEMs had agreed

15   to Google Play exclusivity for most of their new Android devices, further entrenching Google's

16   monopoly and guaranteeing expanded network effects. (Id. , Ex. 61 at '465 .R.)5 A presentation

17   b y - Google                            touted that the -   program had successfully eliminated

18   the "risk of app developer contagion" by preventing OEMs from preloading any app store other

19   than Google Play. (Id. , at '465.R-'466.R.)

20           In 2019, Google also attempted to negotiate a deal with Samsung to prevent Samsung's

21   Galaxy Store from competing with Google Play. (Id. , Ex. 39 at ' 835 .R.) Google and Samsung

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25   -      (Id. , Ex. 43 at '431- '432 .)
26

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     5 As of May 2020, the percentage of each OEM's new Android devices with Google Play

28   exclusivity was as follows : HMD/Nokia (100%), Motorola (98%), LG (95%), BBK (70%),
     Sony (50%), Sharp (50%) and Xiaomi (40%). (Id. , Ex. 61 at '465.R.)

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 2                                                              (Id., Ex. 43 at '430.)

 3                   4.      Google's Conduct Has Anticompetitive Effects that Injure Epic.

 4           Google's conduct causes anticompetitive effects, which in tum, injure consumers and

 5   developers. For example, Google's monopoly allows it to charge supra-competitive prices (i.e.,

 6   its 15% to 30% fee), which causes developers to pay Google money that otherwise would be

 7   used to lower prices for consumers, hire employees and/or invest in new innovations for their

 8   apps. (Tadelis Deel. ,i,i 101-110.) But for Google 's conduct, distributors would compete for

 9   developers and users based on the quality of their services, including app curation, safety

10   features (e.g. , privacy controls), mechanisms for app discovery and novel pricing models. (Id. ,

11   ,i,i 111-113 .) Developers, in tum, would be free to choose the distribution option best suited to
12   their business. (Id.) These are precisely the types of harms the antitrust laws are intended to

13   prevent. See, e.g. , In re Online DVD-Rental Antitrust Litig., 779 F.3d 914, 922 (9th Cir. 2015).

14   Bandcamp, for example, would benefit from distribution options with different pricing models

15   (e.g. , lower fees) and less onerous conditions (e.g. , no requirement to use the distributor's own

16   payment solution). (Diamond Deel. ,i,i 27-28 ; Allison Deel. ,i,i 20-21 ; see also supra Section 1.)

17           B.      Google's Tie of Google Play Billing to Google Play Is Unlawful.
18           Google uses its unlawfully maintained monopoly power in the Android app distribution

19   market to insist that apps distributed through Google Play-which, as discussed above, is

20   developers ' only real choice to reach Android users-must use GPB as the exclusive payment

21   solution for in-app purchases of digital goods and services. (Mosk. Deel., Ex. 68 at 21.)

22   Google's tie violates Section 1 and the Cartwright Act.
23                   1.      Google's Tie Is Per Se Illegal Under Federal and State Law.

24           "For a tying claim to suffer p er se condemnation [under the Sherman Act] , a plaintiff

25   must prove: (1) that the defendant tied together the sale of two distinct products or services;

26   (2) that the defendant possesses enough economic power in the tying product market to coerce its

27   customers into purchasing the tied product; and (3) that the tying arrangement affects a not

28   insubstantial volume of commerce in the tied product market." Cascade Health Sols. v.

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 1   PeaceHealth, 515 F.3d 883, 913 (9th Cir. 2008). The elements of aper se tying anangement

 2   under the Cartwright Act are met where "(1) ... the sale of the tying product was linked to the

 3   sale of the tied product .. . ; (2) the party had sufficient economic power in the tying market to

 4   coerce the purchase of the tied product- (3) a substantial amount of sale was affected in the tied

 5   product· and (4) the complaining party sustained pecuniary loss." SC Manufactured Homes, Inc.

 6   v. Leibert 162 Cal. App. 4th 68, 86 (2008). Each prong of both standards is easily satisfied here.

 7          First, Google ties GPB to distribution through Google Play by threatening to cut off

 8   distribution if developers do not use GPB. (Mosk. Deel., Ex. 68 at 21 .) Second Google ' s

 9   monopoly power in the tying product market (Android app distribution) is established in Section

10   II.A, above, and Google wields that monopoly power to force developers to use GPB. See

11   CollegeNet, Inc. v. Common Application, Inc. , 355 F. Supp. 3d 926, 955 (D. Or. 2018)

12   ("[F]orcing (or coercion) is likely if the seller has power in the tying product market."). As

13   Bandcamp' s own experience shows, but for Google 's tie, developers would not voluntarily

14   choose GPB. (See Diamond Deel. ,r 27-33.) Third, Google 's tie plainly affects the requisite

15   level of commerce. The tie (and accompanying fee) affects billions of dollars ' worth of in-app

16   transactions each year,                                                                      (Tadelis

17   Deel. ,r,r 56, 74-75 89; see also Mosk. Deel. , Ex. 42 at '896.) The fourth element of the

18   Cartwright Act is satisfied by the increased costs to Epic and its Bandcamp app associated with

19   complying with the tie. (See supra Section I.)

20          The evidence of Google 's coercion is undeniable. There is widespread dissatisfaction

21   with GPB among developers. 6

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 1   ' 818.) The 15% to 30% fee that Google imposes on in-app transactions through GPB is divorced

 2   from any value that Google offers developers.




                                                                                   (id. , Ex. 37 at ' 552.R).

 8   Google cannot dispute that developers are coerced into using GPB and paying arbitrn1y fees.

 9                  2.      Google Is Now Coercing More Developers Into Using GPB.

10          Google previously exempted from the tie apps like Bandcamp that sell digital content that

11   could be consumed outside the app (e.g. , songs). Google ' s Policy change expands its tie into

12   new tenitmy-and is driven by one prima1y goal: increasing profit margins.

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22                         ·on. (Id. , Ex. 19 at ' 833

23                                                                             7    (Id. Ex. 21 at '483.)

24                  3.      Google's Tie Has Substantial Anticompetitive Effects.

25          Google ' s tying anangement is also plainly illegal under a rule ofreason analysis. See W

26   Power Sports, Inc. v. Polaris Indus. Partners L.P. , 951 F.2d 365 1991 WL 266523 at *2 (9th

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 1   Cir. 1991) ("The rule ofreason analysis requires the fact-finder to analyze the anticompetitive

 2   effects along with any pro-competitive effects to determine whether the [arrangement] is

 3   unreasonable on balance."). The tie causes anticompetitive effects in both the in-app payment

 4   solutions market and the market for app distribution on Android. (Tadelis Deel. ,i,i 101-113.)

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13   harming developers like Bandcamp by increasing costs and depriving them of the freedom to

14   choose the payments or distribution method of their choice. (Tadelis Deel. ,i,i 110-113 ; see

15   supra Section I.)

16           In sum, Epic is highly likely to succeed on the merits of its claims that Google unlawfully

17   maintains a monopoly in the Android app distribution market and uses that monopoly power to

18   force developers to use GPB through an illegal tie .

19   III.    BALANCE OF HARMS TIPS FIRMLY IN EPIC'S FAVOR.

20           The balance of harms strongly favors Epic. On one hand, absent an injunction, Epic and

21   its Bandcamp app, as well as thousands of artists and independent labels, would suffer imminent

22   irreparable harm. On the other hand, Google will suffer no harm if its status quo of the past

23   decade is maintained and Google is prevented from extending its illegal tie. See Deckers

24   Outdoor Corp. v. Ozwear Connection Pty Ltd. , 2014 WL 4679001 , at *13 (C.D. Cal. Sept. 18,

25   2014) (finding no hardship from an injunction requiring a party to comply with the law).

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 1   Dated: April 28, 2022
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 3                                                 Respectfully submitted,
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